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April 5, 2022

VIA CM/ECF

Honorable Denis R. Hurley -
United States District Court
Eastern Division of New York
100 Federal Plaza

Central Islip, New York 11722

Re: Francisco Rodriguez et al. v. Ridge Restaurant, Inc.
d/b/a Alfredo’s Pizzeria, Dennis Donofrio, and Philip Donofrio
Eastern District Case No. 2:16-cv-00254-DRH-AKT

Dear Judge Hurley:

We are the attorneys for Defendants in this action and write in response to the letter from
plaintiff's counsel dated April 5, 2022, (“Letter”). We oppose the relief sought in the Letter. The
basis for the opposition is set forth below.

This wage and hour case was bifurcated by the Court on agreement of the parties into
damages and attorneys fees. The damages were set at $7,000.00. To date, plaintiff has not
prepared a proposed settlement agreement including, inter alia, the nature and allocation of the
settlement payment, the tax aspects thereof, a release, and such other items typically contained in
such an agreement. In the absence of such an agreement, seeking payment is premature, at best.
The matter of attorneys fees is fully briefed and submitted to the Court for determination.

Thank you for your consideration of our position.

Very truly yours,

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Eric 4, Bressler

EJB/cs
cc — Steven J. Moser, Esq.
